180 F.2d 896
    Charles Taylor KOEN, Appellant,v.UNITED STATES of America.
    No. 14127.
    United States Court of Appeals, Eighth Circuit.
    March 8, 1950.
    
      Appeal from the United States District Court for the Eastern District of Missouri.
      Wilburt J. Chiapella, Memphis, Tenn., for appellant.
      Drake Watson, United States Attorney, and Herbert H. Freer, Assistant United States Attorney, St. Louis, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court docketed and dismissed, on motion of appellee.  87 F.Supp. 589.
    
    